Case: 6:17-cr-00053-GFVT-HAI Doc #: 34 Filed: 03/23/18 Page: 1 of 2 - Page ID#: 124




                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF KENTUCKY
                          SOUTHERN DIVISION
                               (at London)
 CASE NO. 17-CR-00053-GFVT                    ELECTRONICALLY FILED

 UNITED STATES OF AMERICA,                                             PLAINTIFF,


 VS.              MOTION TO MODIFY CONDITIONS OF RELEASE


 WERNER GRENTZ,                                                       DEFENDANT.
                                           ** ** **

        Comes now the Defendant, Werner Grentz, by counsel, and moves the Court to

 modify his conditions of release so as to allow him to travel from his home in London,

 Kentucky, to Chattanooga, Tennessee, on March 31, 2018, leaving at approximately 5:00

 p.m., and returning to his home at approximately 7:00 p.m., on April 2, 2018, to attend his

 mother-in-law’s birthday celebration. The Defendant proposes to stay at the home of his

 mother-in-law, Marlene Ringer, in Chattanooga, Tennessee.

        WHEREFORE, an Order in conformity herewith is respectfully requested.

                                           Respectfully Submitted,

                                           s/David S. Hoskins
                                           DAVID S. HOSKINS
                                           HOSKINS, HILL & HILL, PLLC
                                           400 South Main Street
                                           P.O. Box 1185
                                           Corbin, Kentucky 40702-1185
                                           Telephone: (606) 528-7181
                                           Fax: (606) 528-7183
                                           E-mail: hoskinslaw@bellsouth.net
                                           COUNSEL FOR DEFENDANT
                                           WERNER GRENTZ
Case: 6:17-cr-00053-GFVT-HAI Doc #: 34 Filed: 03/23/18 Page: 2 of 2 - Page ID#: 125




                                CERTIFICATE OF SERVICE

        The undersigned certifies that on this 23rd day of March, 2018, the foregoing was

 filed electronically with the Clerk of the Court by using CM/ECF System which will send

 notice of filing to all counsel of record.

                                                s/David S. Hoskins
                                                COUNSEL FOR DEFENDANT
                                                WERNER GRENTZ
